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                        IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF PUERTO RICO

 UNITED STATES OF AMERICA

           Plaintiff,
                                                        CRIMINAL NO. 97-CR-082 (44) (SEC)
                v.

 HAROLD RIVERA-RODRIGUEZ, et al.

           Defendant.


                                              ORDER

         This Magistrate Judge disqualifies himself from any further proceedings in this case. See 28

U.S.C. §455(a). The matter is referred to the Clerk’s Office to be assigned to another Magistrate

Judge.

         IT IS SO ORDERED.

         In San Juan, Puerto Rico, this 17th day of May, 2007.



                                                      s/ Marcos E. López
                                                      MARCOS E. LÓPEZ
                                                      UNITED STATES MAGISTRATE JUDGE
